                          UNITED STATES DISTRICT COURT
                            DISTRICT OF CONNECTICUT

NICOLE CHASE                                     :     NO.: 3:18-cv-00683 (VLB)
                                                 :
v.                                               :
                                                 :
NODINE’S SMOKEHOUSE, INC., et al                 :     OCTOBER 20, 2020

                       MOTION TO ENFORCE THE SETTLEMENT
                     AGREEMENT WITH THE NODINE DEFENDANTS

        The plaintiff, through counsel, hereby moves to enforce the settlement

reached between the plaintiff, and defendants Calvin Nodine and Nodine’s

Smokehouse, Inc. (Collectively “Nodine defendants”), on Monday September 14,

2020. The initial payment in this matter was due on October 15, 2020, and the

defendants have refused to sign the agreement or make payment.

        The legal and factual basis for enforcement of the settlement agreement is

set forth in the plaintiff’s Memorandum of Law in Support of their Motion to

Enforce the Nodine’s settlement, and supporting exhibits, being filed under seal

along with this motion.

        For the reasons stated therein, the plaintiff seeks an order:

     (1) Compelling immediate payment of the first installment payment due to the

        plaintiff.

     (2) An order directing that in the event of default for failure to make the first

        installment payment prior to October 29, 2020, judgment in the amount set

        forth in the proposed stipulated judgment enter against the Nodine

        defendants.
(3) An order lifting the confidentiality provisions of the settlement agreement

   to the extent necessary to issue the necessary orders.

(4) The costs of enforcing this settlement agreement.

(5) Interest for any delay in payment of the settlement agreement.

(6) Such other relief as this Court deems just and proper.




                                   THE PLAINTIFF,
                                   NICOLE CHASE


                                   By: _ Lewis Chimes_____________
                                   Lewis Chimes (Juris No. 303446)
                                   Mary-Kate Smith (Juris No. 423804)
                                   Law Office of Lewis Chimes LLC
                                   45 Franklin Street
                                   Stamford, CT 06901
                                   Phone: (203)324-7744
                                   Facsimile: (203)969-1319
                                   Email: lchimes@chimeslaw.com
                                   msmith@chimeslaw.com




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                                  CERTIFICATION


       I HEREBY CERTIFY that on the 20th day of October 2020 a copy of the
foregoing was filed electronically and served by mail on anyone unable to accept
electronic filing. Notice of this filing will be sent by email to all parties by
operation of the court’s electronic filing system or by mail to anyone unable to
accept electronic filing as indicated on the Notice of Electronic Filing. Parties may
access this filing through the court’s CM/ECF System.




                                             Lewis Chimes
                                             Lewis Chimes




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